      Case 17-80498-TLS           Doc 31     Filed 12/14/17 Entered 12/14/17 08:56:09                   Desc Main
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                                                                                                              hrgobj (09/14)
                                    UNITED STATES BANKRUPTCY COURT
                                             District of Nebraska
                                             111 South 18th Plaza
                                                  Suite 1125
                                              Omaha, NE 68102


In
Re:
        Sanitary and Improvement District No. 290, Sarpy Bankruptcy Proceeding No. 17−80498−TLS
                                                         Chapter 9
        County, Nebraska
        Debtor(s)
                                                         Judge: Thomas L. Saladino

             NOTICE SETTING OBJECTION / RESISTANCE DEADLINE AND HEARING DATE

Upon the Debtor's to be filed Motion for Order Regarding Issuance of Securities.

   The last day to object or resist the above pleading is December 26, 2017, resistance shall comply with Neb. R.
Bankr. P. 9013.

     Movant (*) shall give immediate notice of the last day to object or resist and a copy of this notice to all parties of
interest (that are not listed below) if required by rule or statute and file certificate of service with the Bankruptcy
Court 5 days before the last day to object or resist.

    If the objection period expires without the filing of any objection/resistance, the court will consider entering an
order granting the relief sought without further hearing.

     If an objection or resistance is properly and timely filed, a hearing will be held December 27, 2017, at 10:00
a.m. in the Robert V. Denney Courthouse, 460 Federal Building, 100 Centennial Mall North, Lincoln, Nebraska.
Parties may participate by telephone. Each party desiring to participate by telephone MUST CALL the AT&T
TeleConference Center at least 5 minutes prior to the commencement of court. The court will not call you. The call
in information is as follows:

                                 TOLL FREE CALL IN NUMBER 1−888−684−8852
                                           ACCESS CODE 5799715
                                     PARTICIPANT SECURITY CODE 0804

See attachment to this notice for PARTICIPANT INSTRUCTIONS FOR ENTERING PHONE CONFERENCE
and TELEPHONE HEARING PROTOCOL.

      Affidavit evidence shall be submitted to the court and opposing counsel by prior to the hearing.

     If a need for the use of equipment for the hearing impaired exists, please notify the courtroom department prior to
the scheduled hearing.

      Dated: 12/14/17
                                                            Diane Zech
                                                            Clerk, U.S. Bankruptcy Court
Copies mailed or electronically sent by the court to the movant.
*Mark J. LaPuzza

IF YOU ARE NOT A PARTY TO THE MATTER SET FORTH IN THIS NOTICE AND WOULD LIKE TO
PARTICIPATE IN THE HEARING, YOU MUST NOTIFY THE COURTROOM DEPUTY AT 402−437−1627 OR
NEBml_orders@neb.uscourts.gov AT LEAST 24 HOURS PRIOR TO THE HEARING.
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                                                                                                               (05/25/10)


                 PARTICIPANT INSTRUCTIONS FOR ENTERING PHONE CONFERENCE and
                                 TELEPHONE HEARING PROTOCOL

Each party desiring to be heard MUST CALL the AT&T TeleConference Center at least 5 minutes prior to the
commencement of court. Participants will need the following information provided in the clerk's hearing notice in
order to participate by telephone:

                                          TOLL FREE CALL IN NUMBER
                                                ACCESS CODE
                                         PARTICIPANT SECURITY CODE

Conference calls will be amplified throughout the entire courtroom. During the conference call and while court is in
session, please maintain proper telephone etiquette. Participant cooperation is appreciated and will serve to expedite
the hearing process.

                              TELEPHONE CONFERENCE / HEARING PROTOCOL

      • Be on time for the hearing at least 5 minutes prior to commencement of court.
      • The Bankruptcy Court will not initiate the telephone conference. Participants MUST CALL the AT&T
        TeleConference Center.
      • If participant(s) fail to call in, the hearing will go forward as scheduled.
      • The toll free call in number, access number, and participant security code will be provided in the clerk's
        hearing notice. The numbers may not be the same for every hearing so it is important you review the hearing
        notice in advance.
      • DO NOT announce your presence when you call into the conference except when requested to do so by the
        AT&T auto−attendant prompt. Multiple hearings may be scheduled at the same time and a hearing may be in
        process. Wait for your hearing to be called before speaking. Treat the phone conference as if you are sitting in
        the courtroom waiting for your case to be called.
      • Do not place the phone on hold during the call as many participants utilize background music.
      • Do not conduct work such as paper shuffling or keyboard typing during the phone conference. Maintain
        telephone silence while waiting and refrain from making unnecessary noise.
      • Mute your telephone as applicable. Press *6 to mute your line. When you are ready to speak Press *6 to
        un−mute your line.
      • Do not address the court until called upon.
      • Follow conference coordinator instructions as provided.
      • Limit the use of mobile phones. If at all possible call in from a land line for your telephone conference.
        Mobile phone service drops and/or static may affect the conference. The AT&T TeleConference specialists
        have no control over the quality when any participant decides to use their mobile phone.

                   PARTICIPANT INSTRUCTIONS FOR ENTERING PHONE CONFERENCE

     a. Dial the Toll Free Call in Number provided in the clerk's hearing notice;
     b. Enter the Access Code provided in the clerk's hearing notice. At this point you will be placed on hold until the
        Host (Courtroom Deputy) activates the conference call;
     c. Once the conference call has been activated by the Host, you will be asked to enter the Participant Security
        Code provided in the hearing notice, followed by the # key. The security code needs to be entered only once
        unless it is entered incorrectly the first time.
     d. Provide your name to the AT&T auto−attendant as prompted. Once you have been connected to the phone
        conference do not announce your presence until the courtroom deputy takes roll call or your hearing is called.
